Case 1:12-cr-20291-CMA Document 651 Entered on FLSD Docket 09/22/2015 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                           Criminal Case No.: 12-20291-ALTONAGA


  UNITED STATES OF AMERICA

         vs.

  ARMANDO GONZALEZ,

                        Defendant.



               GOVERNMENT’S MOTION FOR DOWNWARD DEPARTURE
                      PURSUANT TO FED. R. CRIM. P. 35

         Pursuant to Federal Rule of Criminal Procedure 35, the United States of America, by and

  through the undersigned Trial Attorney, hereby moves for a sentence reduction for the Defendant,

  Armando Gonzalez (“Gonzalez”), in order to reflect his substantial assistance in the criminal

  investigation and prosecution of others. In support of this motion, the government states the

  following:

         1.     On April 26, 2012, a grand jury sitting in the Southern District of Florida returned

  a 23-Count Indictment, charging Gonzalez, along with eight co-conspirators, with conspiracy to

  commit health care fraud, health care fraud, and conspiracy to commit money laundering (United

  States v. Armando Gonzalez, et al., Case No. 12-CR-20291-Altonaga).

         2.     On December 17, 2012, Gonzalez pled guilty to Counts One and Eleven of the

  Indictment for his role in a health care fraud and money laundering scheme involving Health Care

  Solutions Network, Inc. (“HCSN”).

         3.     On February 26, 2013, the Court sentenced Gonzalez to 168 months in prison.


                                                 1
Case 1:12-cr-20291-CMA Document 651 Entered on FLSD Docket 09/22/2015 Page 2 of 3



         4.     Based on the facts of this case, as will be detailed at Gonzalez’ Rule 35 hearing,

  Gonzalez’ assistance warrants a reduction in sentence under Fed. R. Crim. P. 35.

         5.     Gonzalez has provided the Government with substantial assistance and as a result

  of this assistance the Government recommends a thirty-seven percent (37%) reduction in his

  sentence.



                                                      Respectfully submitted,


                                                      WILFREDO FERRER


                                              By:     /s/ Allan J. Medina
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                                                 2
Case 1:12-cr-20291-CMA Document 651 Entered on FLSD Docket 09/22/2015 Page 3 of 3



                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on September 22, 2015, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF.

  Dated: September 22, 2015


                                                /s/ Allan J. Medina
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